Case 1:21-cv-07957-LAK   Document 94-13   Filed 06/30/23   Page 1 of 5




  EXHIBIT 93
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              Case 1:21-cv-07957-LAK     Document 94-13   Filed 06/30/23    Page 2 of 5




CHARLE S G OODMAN
                                                                 A PRIL    3 , '1967


                    MR . CHA RLES BRAINARD ,
                    KENYON & KENYON,
                    165 BROADWAY,
                    NEW YORK.



                    DEAR CHARL IE,




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Case 1:21-cv-07957-LAK   Document 94-13        Filed 06/30/23   Page 3 of 5




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Case 1:21-cv-07957-LAK        Document 94-13                             Filed 06/30/23                        Page 4 of 5
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                Guaranteed Bi-monthly
                                                MARVEL COMIC GROUP
                                                                                                           Rote Cord No. 21
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                                ½ Page ................................................................. ..................................... 3,200.00
                         Covers
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                                4th Cover (4 colors) ........................................................................ 8,000.00

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                       THE RAWHIDE KID        SGT. FURY                TWO GUN KID
                       MIGHTY MARVEL WESTERN MILLIE THE MODEL           KID COLT OUTLAW
                       DAREDEVIL              AMAZING SPIDER-MAN        FANTASY MASTERPIECES
                       THEX-MEN               THE AVENGERS             MARVEL TALES
                       TALES TO ASTONISH      TALES OF SUSPENSE        THE GHOST RIDERS
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Case 1:21-cv-07957-LAK                 Document 94-13                           Filed 06/30/23                       Page 5 of 5


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